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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF CONNECTICUT
                                     BRIDGEPORT DIVISION

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In re:                                                : Chapter 11
                                                      :
HO WAN KWOK,                                          : Case No. 22-50073 (JAM)
                                                      :
                  Debtor.                             :
                                                      :
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                                                      x

               REPLY OF CHAPTER 11 TRUSTEE IN SUPPORT OF
       MOTION, PURSUANT TO BANKRUPTCY RULE 9006(c)(1), TO EXPEDITE
    HEARING ON APPLICATION OF CHAPTER 11 TRUSTEE FOR ENTRY OF ORDER
     AUTHORIZING AND APPROVING RETENTION AND EMPLOYMENT OF PAUL
             HASTINGS LLP AS COUNSEL TO CHAPTER 11 TRUSTEE

          Chapter 11 Trustee Luc A. Despins (the “Trustee”), by and through his undersigned

proposed counsel, respectfully submits this reply (the “Reply”) (i) in support of his Motion,

Pursuant to Bankruptcy Rule 9006(c)(1), to Expedite Hearing on Application of Chapter 11

Trustee for Entry of Order Authorizing and Approving Retention and Employment of Paul

Hastings LLP as Counsel to the Chapter 11 Trustee, dated July 12, 2022 (ECF No. 541, the

“Motion to Expedite”); and (ii) in response to Pacific Alliance Asia Opportunity Fund L.P.’s

(“PAX”) Objection to the Motion to Expedite, dated July 13, 2022 (ECF No. 548).1 In support of

this Reply, the Trustee respectfully states as follows:

          1.       For the reasons set forth in the Motion to Expedite, the Trustee continues to believe

it is imperative for the Court to hear the Retention Application on an expedited basis to ensure that

the Trustee has the assistance of legal counsel to help him address important, time-sensitive issues

in this case. Nevertheless, after conferring with counsel to PAX, the Trustee would be amenable


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    Capitalized terms used but not defined herein have the meanings set forth in the Motion to Expedite.
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to having the Retention Application heard on July 25, 2022, or as soon thereafter that week as the

Court is available. The Trustee understands that a July 25 hearing date is also acceptable to PAX.

         2.      To the extent it would be helpful to the Court, the Trustee is available next week

for a status conference to provide the Court with an update as to the initial steps he has taken since

his appointment and other developments in the case.


Dated:        July 13, 2022                    LUC A. DESPINS,
              New Haven, Connecticut           CHAPTER 11 TRUSTEE

                                               By: /s/ Patrick R. Linsey
                                                  Douglas S. Skalka (ct00616)
                                                  Patrick R. Linsey (ct29437)
                                                  NEUBERT, PEPE & MONTEITH, P.C.
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                                                       and

                                                   Nicholas A. Bassett (pro hac vice pending)
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                                                   Avram E. Luft (pro hac vice pending)
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                                                   Proposed counsel for the Chapter 11 Trustee




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                  Debtor.                             :
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                                                      x

                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on July 13, 2022, the foregoing Reply was

electronically filed. Notice of this filing was sent by e-mail to all parties to the above-captioned

chapter 11 case by operation of the Court’s electronic filing system or by mail to anyone unable to

accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s system.

Dated:         July 13, 2022
               New Haven, Connecticut
                                               By: /s/ Patrick R. Linsey
                                                  Douglas S. Skalka (ct00616)
                                                  Patrick R. Linsey (ct29437)
                                                  NEUBERT, PEPE & MONTEITH, P.C.
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